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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

UNITED STATES OF AMERICA,                             CR 21–17–M–DLC

                      Plaintiff,

vs.                                                         ORDER

AARON CHARLES FRITSCH,

                      Defendant.

      Due to the COVID-19 outbreak, and upon the Court’s Own Motion,

      IT IS ORDERED that the sentencing hearing currently scheduled for

Wednesday, October 27, 2021 at 3:00 p.m. is VACATED and RESET to

commence via video from Cascade County Detention Center on Wednesday,

October 27, 2021 at 3:00 p.m. If the Defendant objects to this hearing being held

via video, he shall file a notice of objection on or before October 22, 2021.

      The Clerk shall notify counsel and the U.S. Marshals Service of

this Order.

      DATED this 4th day of October, 2021.
